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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                     8:18CR137
                        Plaintiff,

       vs.                                                             ORDER

MAYRA GUADALUPE NUNEZ,

                        Defendant.


       The defendant, Mayra Guadalupe Nunez, has moved to continue the trial (filing no. 70).
The motion to continue is unopposed by counsel for the Government. Based on the showing set
forth in the motion, the court finds good cause has been shown and the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     The defendant’s unopposed motion to continue trial (filing no. 70) is granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in the Special Proceedings Courtroom of the United
              States Courthouse, Omaha, Nebraska, at 9:00 a.m. on March 4, 2019, or as
              soon thereafter as the case may be called for 3 days. Jury selection will be held
              at commencement of trial.

       3)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
              justice will be served by granting this continuance and outweigh the interests of
              the public and the defendant in a speedy trial. Any additional time arising as a
              result of the granting of this motion, that is, the time between today’s date and
              March 4, 2019, shall be deemed excludable time in any computation of time
              under the requirement of the Speedy Trial Act. Failure to grant a continuance
              would deny counsel the reasonable time necessary for effective preparation,
              taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
              (B)(iv).

       January 25, 2019.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
